Case 1:05-cr-10012-.]DT Document 13 Filed 05/03/05 Page 1 of 2 Page|D 14
|N THE UN|TED STATES D|STR|CT COURT }7!@/;>}-/

 

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Piaintifr, F’Fl/,j,,§;/Sr§i»;
'“’\SG/ii"
v. cr_ No. 05-10012-T/An "

JAMES CURT|S BAKER,

Defendant.

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on N|ay 2, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained/appointed:

NA|V|E:
ADDRESS:

Dianne Smothers, Asst. Federa| Defender

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, being held without bond pursuant to BRA of 1984, is remanded to the

custody of the U.S. Marshal.
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S. THOMAS ANDERSON
United States Magistrate Judge

felon in possession of a firearm; possession of a machine gun; possession of an
unregistered machine gun

Charges:

Assistant U.S. Attorney assigned to case: ivy

Ruie 32 was not waived.

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b} FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CR-10012 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY'S OFFICE
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Honorable .1 ames Todd
US DISTRICT COURT

